                             Case 2:13-cv-00193 Document 775-35 Filed on 11/19/14 in TXSD Page 1 of 1
    From                                                         Burch   Shea
    To                                                           Ag encyco nstit ue ntresponsesgove rno r state tx us
    Sent                                                         7112013         114147             AM
    Subject                                                      Constituent     Phil    Jones




Good morning


I
    was able        to       contact                          Mr Jones by email He was                          interested       in   obtaining    a Texas            Election   Certificate       ID   card issued by

our Agency               I
                              explained                         because     he has a valid Texas                        Driver   License     he was not eligible to obtain this ID card                        I




provided Transportation                                          Code 521A001                     which    states       The department            shall       issue an election        identification      certificate

to    a person who                   states that the                      person             is   obtaining      the certificate        for the    purpose of satisfying Section                     63001b
Election         Code               and does not have another form of identification                                                   described by Section                630101        Election       Code       I   then

provided the                 list   of        acceptable                 photo     identification                that   is   posted on the Secretary of State website under voter
information              httpwsyssosstatetxus                                           It    takes      you to votetexasgov                      and     I   clicked     on   the   tab at the bottom Photo              ID

FAQs

All      voters are           now required                          to   present    an approved                   form of photo          identification          in   order to vote     in   all   Texas   Elections

Here       is   a list       of the              acceptable               forms of photo                   ID

    Texas       driver license                                issued by the Texas                  Department of Public               Safety      DPS
    Texas       Election            Identification Certificate                                    issued   by    DPS
    Texas       personal identification card                                     issued            by   DPS
    Texas       concealed                handgun                    license      issued by              DPS
    United States military identification                                         card containing                 the persons           photograph
    United States citizenship certificate containing                                                       the    persons photograph
    United States passport

I   asked       Mr Jones to contact me                                      if   he had any additional questions



Respectfully



Shea Burch

License         and Record               Service

Driver License Division

Texas      Department                of Public                     Safety

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                                         exhibitsticker.com




         09/02/2014

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